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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-61227-CIV-ALTMAN/Hunt

  DANIEL MONCADA,

         Plaintiff,

  vs.

  WAWA, INC., a foreign for-profit
  corporation,

        Defendant.
  ______________________________/

                  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff, DANIEL MONCADA, hereby gives notice of dismissal with prejudice of the

  above action pursuant to Federal Rule of Civil Procedure 41(a)(1)(i).


         Date: September 4, 2020

   RODERICK V. HANNAH, ESQ., P.A.                     LAW OFFICE OF PELAYO DURAN, PA
   Counsel for Plaintiff                              Co-Counsel for Plaintiff
   8751 W. Broward Blvd., Suite 303                   4640 N.W. 7th Street
   Plantation, FL 33324                               Miami, FL 33126-2309
   T. 954/362-3800                                    T. 305/266-9780
   954/362-3779 (Facsimile)                           305/269-8311 (Facsimile)
   Email: rhannah@rhannahlaw.com                      Email: pduran@pelayoduran.com


   By      s/ Roderick V. Hannah                      By    s/ Pelayo M. Duran
           RODERICK V. HANNAH                               PELAYO M. DURAN
           Fla. Bar No. 435384                              Fla. Bar No. 0146595




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 4th day of September, 2020, a true and correct of the

  foregoing was electronically filed and served via transmission of Notice of Electronic Filing

  generated by CM/ECF on all counsel or parties of record on the Service List below:


  Antoinette Theodossakos, Esq.
  SAUL EWING ARNSTEIN & LEHR LLP
  Counsel for Defendant
  Northridge Centre, Suite 1400
  515 North Flagler Drive
  West Palm Beach, FL 33401
  (561) 833-9800
  Email: antoinette.theodossakos@saul.com

  Attorneys for Defendant
  WAWA, INC..
                                                          /s/ Roderick V. Hannah
                                                              Roderick V. Hannah




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